                                                        UNITED STATES DISTRICT COURT
                 Case 3:19-mj-01564-DEA                 Document        92of NewFiled
                                                           for the District      Jersey 10/04/19     Page 1 of 3 PageID: 170

                      United States of America
                                                                                               ORDER SETTING
                                   v.                                                       CONDITIONS OF RELEASE

                         ANDRE WILLIAMS                                                       Case Number: 19MJ1564(DEA)
                             Defendant

 IT IS ORDERED on this 4TH day of__OCTOBER_, 2019 that the release of the defendant is subject to the following conditions:
           (1) The defendant must not violate any federal, state or local law while on release.
           (2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
               42 U.S.C. § 14135a.
           (3) The defendant must immediately advise the court, defense counsel, and the U.S. attorney in writing before
               any change of address andJor telephone number.
           (4) The defendant must appear in court as required and must surrender to serve any sentence imposed.

                                                                  Release on Bond

 Bail be fixed at $    I 00 COO. oand the defendant shall be released upon:
         ()      Executing an unsecured appearance bond    cX)
                                                             with co-signor(s)
                 Executing a secured appearance bond ( ) with co-signor(s)                                                and ( ) depositing
         ( )                                                                                                             ,


                 in cash in the registry of the Court      of the bail fixed; and/or ( ) execute an agreement to forfeit designated property
                 located at                                                       Local Criminal Rule 46.1(d)(3) waived/not waived by the
                 Court.
         ( )     Executing an appearance bond with approved sureties, or the deposit of cash in the full amount of the bail in lieu thereof;

                                                         Additional Conditions of Release

 Upon finding that release by the above methods will not by themselves reasonably assure the appearance of the defendant and the safety of
 other persons and the community, it is further ordered that the release of the defendant is subject to the condition(s) listed below:

 iT IS FURTHER ORDERED that, in addition to the above, the following conditions are imposed:
       (  X Report to Pretrial Services (“PTS”) as directed and advise them immediately of any contact with law enforcement personnel,
            including but not limited to, any arrest, questioning or traffic stop.
            The defendant shall not attempt to influence, intimidate, or injure anyjuror or judicial officer; not tamper with any witness,
            victim, or informant; not retaliate against any witness, victim or inf2mant I this case.         , /
       () The defendant shall be released into the third party custody of                            /I /t

                  who agrees (a) to supervise the defendant in accordance with all the conditions of release, (b) to use every effort to assure
                  the appearance of the defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the
                  defendant violates any conditions of release or disappears.


                 Custodian Signature:                                          Date:
                                                                                       —


                                                                                                      ‘7 /




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              Case   3:19-mj-01564-DEA
              The defendant’s                         Document
                              travel is restricted to ( New Jersey92         6ovJh
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                                                              unless approved by Pretrial Services (PTS).
              Surrender all passports and travel documents to PTS. Do not apply for new travel documents.
  X)          Substance abuse testing and/or treatment as directed by PTS. Refrain from obstructing or tampering with substance abuse testing
              procedures/equipment.
  ( )         Refrain from possessing a firearm, destructive device, or other dangerous weapons. All firearms in any home in which the
              defendant resides shall be removed by                      verification provided to PTS.
  (           Mental healt. testing/treatment as directed by PTS.
  (           Abstain from the use of alcohol.
              Maintain current residence or a residence approved by PTS.
 (            Maintain or actively seek employment and/or commence an education program.
              No contact with minors unless in the presence of a parent or guardian who is aware of the present offense.
              Have no contact with the following individuals: C’’                            a,’t 4h?ng r( LO1*r15,€5

 (‘           Defendant is to participate in one of the following home confinement program components and abide by all the requirements of
              the program which          will or ( ) will not include electronic monitoring or other location verification system. You shall pay all
              or part of the cost of the program based upon your ability to pay as determined by the pretrial services office or supervising
              officer.
               ( ) (i) Curfew. You are restricted to your residence every day ( ) from                       to            or ( ) as directed by
                              the pretrial services office or supervising officer; or
                       (ii) Home Detention. You are restricted to your residence at all times except for the following:
                              education; religious services; medical, substance abuse, or mental health treatment; attorney visits; court
                              appearances; court-ordered obligations; or other activities pre-approved by the pretrial services office or
                              supervising officer. Additionally, employment ([ is permitted ( ) is not permitted.
               ( )     (iii)  Home   Incarceration. You are restricted to your residence under 24 hour lock-down except
                              for medical necessities and court appearances, or other activities specifically approved by the court.
      (     ) Defendant is subject to the following computer/internet restrictions which may include manual inspection and/or the
                installation of computer monitoring software, as deemed appropriate by Pretrial Services. The defendant shall pay all
               or part of the cost of the monitoring software based upon their ability to pay, as determined by the pretrial services
               office or suJervising officer.
               ( ) (i) No Computers defendant is prohibited from possession and/or use of computers or
                                             -                                                                                       connected
                        devices.
               ( ) (ii) Computer No Internet Access: defendant is permitted use of computers or connected
                                       -                                                                                         devices, but is
                        not permitted access to the Internet (World Wide Web, FTP Sites, IRC                 Servers, Instant Messaging, etc);
               ( ) (iii) Computer With Internet Access: defendant is permitted use of computers or connected devices, and is
                              permitted access to the Internet (World Wide Web, FTP Sites, IRC Servers, Instant Messaging, etc.) for
                              legitimate and necessary purposes pre-approved by Pretrial
                              Services at [ J home [ J for employment purposes.
               ( ) (iv) Consent of Other Residents -by consent of other residents in the home, any computers in the home utilized
                              by other residents shall be approved by Pretrial Services, password protected by a third party custodian
                              approved by Pretrial Services, and subject to inspection for compliance by Pretrial Services.
                                                                                                                                                 (
          () Other:    OpPC                         LL nIepJ o- dJA9
          ( ) Other:   Co n rpLfl ‘!-Q           O-v’l dA aA7%i ciJ               roraj crc jfl JZA

          ( ) Other:




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                                              OF PENALTIES AND10/04/19
                                                               SANCTIONSPage 3 of 3 PageID: 172

 TO THE DEFENDANT:

 ‘0U ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:
                             Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
  evocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in imprisonment,
  a fine, or both.
                ‘While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years and
  for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be consecutive (i.e.,
  in addition to) to any other sentence you receive.
                It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation; tamper with
  a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt to intimidate a
  witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation ate significantly more serious if
  they involve a killing or attempted killing.
                If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence, you may be
  prosecuted for failing ta appear or surrender and additional punishment may be imposed. If you are convicted of:
                     (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more you will be fined
                                                                                                                                    —




                           not more than $250,000 or imprisoned for not more than 10 years, or both;
                     (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years you will be fined not
                                                                                                                                —




                           more than $250,000 or imprisoned for not more than five years, or both;
                     (3) any other felony you will be fined not more than $250,000 or imprisoned not more than two years, or both;
                                           —




                     (4) a misdemeanor— you will be fined not more than $100,000 or imprisoned not more than one year, or both.
                     A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
  addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                          Acknowledgment of the Defendant

                    I acknowledge that I am the defendant in this case and that I am aware ofthe conditions of release. I promise to obey all conditions
   of release, to appear as directed, and surrender to serve any sentence imposed. 1 am aware of the penalties and sanctions set forth above.


                                                                                         Defendant’s Signature

                                                                                         ,p
                                                                                              City and State

                                                     Directions to the United States Marshal

      (‘f)
      ( )
             The defenda1it is ORDERED released after processing.
             The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant has
             posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before the
             appropriatejudge at the time and place specified.

     Date:
                                                                                                          ‘s Signature
                                                                           DOUGLAS                  ,   U.S.M.J.
                                                                                          Printed Name and Title




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